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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


 UNITED STATES OF AMERICA, :
                           :
      Plaintiff,           :
                           :
 v.                        :                     CASE NO. 8:05-cr-420-T-30TBM
                           :
 GUILLERMO DE LA ROSA,     :
                           :
      Defendant.           :
                           :


                          FINAL JUDGMENT OF FORFEITURE

       THIS CAUSE comes before the Court upon the filing of the Motion (Doc. 511) by the

 United States for a Final Judgment of Forfeiture for the following property:

       A.     Real property, including all improvements thereon and appurtenances

 thereto, located at 740 SE 22nd Avenue, Pompano Beach, Florida 33062, which is legally

 described as follows:

              Lot 7, Block 2, SANTA BARBARA SHORES, according to the Plat thereof,
              as recorded in Plat Book 33, page 21 of the Public Records of Broward
              County, Florida.

              Parcel Identification Number: 19306-26-03700
              Folio Number: 494306260370.

       B.     The following vehicles:

              (1)    1999 Ford F350 Pickup, VIN: 1FTWW33F6XEC68669
                     Owner of Record: Guillermo A. De La Rosa,

              (2)    2002 Ford F150, VIN: 1FTRX17272NA46656
                     Owner of Record: Guillermo A. De La Rosa;



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              (3)    2002 Ford Econoline E250, VIN: 1FTNS24242HB24624;
                     Owner of Record: Guillermo A. De La Rosa;

              (4)    1997 Toyota Land Cruiser, VIN: JT3HJ85J1V0181105
                     Owner of Record: Marlene De La Rosa; and

              (5)    1999 Mitsubishi Truck, VIN: JW6AAF1H7XL002328;
                     Owner of Record: Parkway to Marble and Granite, Inc.

       C.     The following monies seized from the following bank accounts:

              (1)    Bank of America account number 0036 2489 7263, held in the name
                     of Guillermo and Marlene De La Rosa, in the amount of $1,014.02;

              (2)    Washington Mutual Bank account number 1950828609, in the name
                     of Parkway to Marble and Granite, Inc., in the amount of $1,859.41;
                     and

              (3)    Bank Atlantic account number 54406820 in the name of Guillermo and
                     Marlene De La Rosa, in the amount of $296.83.

       D.     The assorted jewelry, valued at $80,950, seized from Guillermo de la Rosa,
              during the execution of a search warrant at his residence located at 740 SE
              22nd Avenue, Pompano Beach, Florida.

       1.      On October 16, 2007, the Court granted the United States’ motion and

 entered the Preliminary Order of Forfeiture (Doc. 399), forfeiting to the United States of

 America all right, title, and interest of defendant Guillermo De La Rosa.

       2.     Notice of the Preliminary Order of Forfeiture as to defendant Guillermo De La

 Rosa was sent via certified mail, return receipt requested, to the following third parties

 known to have alleged an interest in the assets found subject to forfeiture:

              a.     Marlene De La Rosa, Certified Mail No. 7005 3110 0003 4592 5144
                     on October 17, 2007, green card signed and returned on October 20,
                     2007. No claim was filed;

                     Marlene De La Rosa, c/o William Jung, Esquire, Certified Mail No.
                     7005 3110 0003 4592 5427 on October 24, 2007, green card signed

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                       and returned on October 26, 2007. No claim was filed;

               b.      Ford Motor Credit, Attn: Richard Ramey, Tampa Service Center, P.O.
                       Box 31111, Tampa, Florida 33631, Certified Mail No. 7005 3110 0003
                       4592 5168 on October 17, 2007, green card signed and returned on
                       October 18, 2007. No claim was filed;

               c.      Parkway to Marble and Granite, 3056 N.E. 12th Terrace, Oakland
                       Park, Florida 33334, Certified Mail No. 7005 3110 0003 4592 5120 on
                       October 17, 2007, envelope returned “attempted - not known and
                       unable to forward;”

               d.      R & H Tile, Inc., 3056 N.E. 12th Terrace, Oakland Park, Florida 33334,
                       Certified Mail No. 7005 3110 0003 4592 5113 on October 17, 2007,
                       envelope returned “attempted - not known and unable to forward;” and

               e.      Associates Commercial Corporation, Attn: Customer Service, P.O.
                       Box 168647, Irving, Texas 75016, Certified Mail No. 7005 3110 0003
                       4592 5106 on October 17, 2007, green card signed and returned on
                       October 31, 2007. No claim was filed.

        3.     On December 17, 2007, the United States filed a Stipulation and Hold

 Harmless Agreement between the United States of America and Marlene De La Rosa in

 which Marlene De La Rosa agreed that she had no right, title, or interest in the real

 property located at 740 SE 22nd Avenue, Pompano Beach, Florida and agreed not to

 contest the forfeiture. The United States agreed to pay Marlene De La Rosa $100,000.00

 from the net sales proceeds. (Doc. 442).

        4.     In accordance with the provisions of 21 U.S.C. § 853(n), the United States

 published notice of the forfeiture for the currency listed under section “C” of this motion, and

 of its intent to dispose of the properties, in the Tampa Tribune, a newspaper of general

 circulation in Hillsborough County, Florida and in the Broward Daily Business Review, a

 newspaper of general circulation in Broward County, Florida on October 30, 2007,



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 November 6, 2007 and November 13, 2007. (Docs. 417 and 418). The publication gave

 notice to all third parties with a legal interest in the subject property to file with the Office

 of the Clerk, United States District Court, Middle District of Florida, Sam Gibbons Federal

 Courthouse, 2nd Floor, 801 North Florida Avenue, Tampa, Florida 33602, a petition to

 adjudicate their interest within 30 days of the final date of publication.

        5.      In accordance with the provisions of 21 U.S.C. § 853(n), the United States

 published notice of the forfeiture for the assets listed under sections “A,” “B” and “D” of this

 motion, and of its intent to dispose of the properties, in the Tampa Tribune, a newspaper

 of general circulation in Hillsborough County, Florida on November 1, 2007, November 8,

 2007 and November 15, 2007 and in the Broward Daily Business Review, a newspaper of

 general circulation in Broward County, Florida on December 12, 2007, December 19, 2007

 and December 26, 2007. (Docs. 432 and 476). The publication gave notice to all third

 parties with a legal interest in the subject property to file with the Office of the Clerk, United

 States District Court, Middle District of Florida, Sam Gibbons Federal Courthouse, 2nd Floor,

 801 North Florida Avenue, Tampa, Florida 33602, a petition to adjudicate their interest

 within 30 days of the final date of publication.

        6.      No persons or entities, other than the defendant Guillermo De La Rosa,

 whose interest was forfeited to the United States in the Preliminary Order of Forfeiture, and

 the persons and entities identified in paragraph 3 above, are known to have an interest in

 the subject assets. No third party has filed a Petition of Ownership in the subject properties

 to date, and the time for filing such Petition has expired.




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           7.     The Court finds that the subject assets are the property of defendant

 Guillermo De La Rosa.

           Accordingly, it is hereby

           ORDERED, ADJUDGED and DECREED that the United States’ motion (Doc. 511)

 is GRANTED. It is FURTHER ORDERED that all right, title and interest in following

 property is CONDEMNED and FORFEITED to the United States of America, pursuant to

 the provisions of 21 U.S.C. § 853 and Fed. R. Crim. P. 32.2(c)(2), for disposition according

 to law:

           A.     Real property, including all improvements thereon and appurtenances

 thereto, located at 740 SE 22nd Avenue, Pompano Beach, Florida 33062, which is legally

 described as follows:

                  Lot 7, Block 2, SANTA BARBARA SHORES, according to the Plat thereof,
                  as recorded in Plat Book 33, page 21 of the Public Records of Broward
                  County, Florida.

                  Parcel Identification Number: 19306-26-03700
                  Folio Number: 494306260370.

           B.     The following vehicles:

                  (1)    1999 Ford F350 Pickup, VIN: 1FTWW33F6XEC68669
                         Owner of Record: Guillermo A. De La Rosa,

                  (2)    2002 Ford F150, VIN: 1FTRX17272NA46656
                         Owner of Record: Guillermo A. De La Rosa;

                  (3)    2002 Ford Econoline E250, VIN: 1FTNS24242HB24624;
                         Owner of Record: Guillermo A. De La Rosa;

                  (4)    1997 Toyota Land Cruiser, VIN: JT3HJ85J1V0181105
                         Owner of Record: Marlene De La Rosa; and



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                           (5)          1999 Mitsubishi Truck, VIN: JW6AAF1H7XL002328;
                                        Owner of Record: Parkway to Marble and Granite, Inc.

              C.           The following monies seized from the following bank accounts:

                           (1)          Bank of America account number 0036 2489 7263, held in the name
                                        of Guillermo and Marlene De La Rosa, in the amount of $1,014.02;

                           (2)          Washington Mutual Bank account number 1950828609, in the name
                                        of Parkway to Marble and Granite, Inc., in the amount of $1,859.41;
                                        and

                           (3)          Bank Atlantic account number 54406820 in the name of Guillermo and
                                        Marlene De La Rosa, in the amount of $296.83.

              D.           The assorted jewelry, valued at $80,950, seized from Guillermo de la Rosa,
                           during the execution of a search warrant at his residence located at 740 SE
                           22nd Avenue, Pompano Beach, Florida.

              Clear title to the property is now vested in the United States of America.

              DONE and ORDERED in Tampa, Florida on April 8, 2008.




 Copies to:
 Anita M. Cream, AUSA
 Attorneys/Parties of Record
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